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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON




  UNITED STATES OF AMERICA,                                       Case No.: 3:17-cr-00044-BR

                                   Plaintiff,
                                                    PETITION TO ENTER PLEA OF
                      v.                            GUILTY, CERTIFICATE OF
                                                    COUNSEL, AND ORDER
  JARED DALE GILLESPIE,

                                 Defendant.

       The defendant represents to the court:

       1.      My name is Jared Dale Gillespie. I am 28 years old. I have gone to school up to

and including obtaining a GED plus 12 collage credits in General Studies from Portland

Community College.

       2.      My attorney is Assistant Federal Public Defender Thomas E. Price.

       3.      My attorney and I have discussed my case fully. I have received a copy of the

Indictment or Information. I have read the Indictment or Information, or it has been read to me,

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and I have discussed it with my attorney. My attorney has counseled and advised me concerning

the nature of each charge, any lesser-included offense(s), and the possible defenses that I might

have in this case. I have been advised and understand that the elements of the charge(s) alleged

against me to which I am pleading "GUILTY" are as follows:

       Count 5:

            •   in the District of Oregon;

            •   knowingly and intentionally possessing with the intent to distribute a
                mixture containing fentanyl, a Schedule II controlled substance;

            •   in violation of21 U.S.C. §§ 841(a)(l) and 841 (b)(l)(C).

I have had a full and adequate opportunity to disclose to my attorney all facts known to me that

relate to my case. I understand that the Court may ask whether I am satisfied with the advice I

have received from my attorney.

       4.       I know that ifl plead "GUILTY," I will have to answer any questions that the judge

asks me about the offense(s) to which I am pleading guilty. I also know that if I answer falsely,

under oath, and in the presence of my attorney, my answers could be used against me in a

prosecution for perjury or false statement.

       5.       I am not under the influence of alcohol or drugs. I am not suffering from any injury,

illness or disability affecting my thinking or my ability to reason. I have not taken any drugs or

medications within the past seven (7) days.

       6.       I understand that conviction of a crime can result in consequences in addition to

imprisonment. Such consequences include deportation, or removal from the United States, or

denial of naturalization, if I am not a United States citizen; loss of eligibility to receive federal

benefits; loss of certain civil rights (which may be temporary or permanent depending on


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applicable state or federal Jaw), such as the right to vote, to hold public office, and to possess a

firearm; and loss of the privilege to engage in certain occupations licensed by the state or federal

government.

       7.       I know that I may plead "NOT GUILTY" to any crime charged against me and that

I may persist in that plea if it has already been made. I know that if I plead "NOT GUILTY" the

Constitution guarantees me:

       a.       The right to a speedy and public trial by jury, during which I will be
                presumed to be innocent unless and until I am proven guilty by the
                government beyond a reasonable doubt and by the unanimous vote of
                twelve jurors;

       b.       The right to have the assistance of an attorney at all stages of the
                proceedings;

       c.       The right to use the power and process of the court to compel the production
                of evidence, including the attendance of witnesses in my favor;

       d.       The right to see, hear, confront, and cross-examine all witnesses called to
                testify against me;

       e.       The right to decide for myself whether to take the witness stand and testify,
                and if I decide not to take the witness stand, I understand that no inference
                of guilt may be drawn from this decision; and

       f.       The right not to be compelled to incriminate myself.

       8.       I know that if I plead "GUILTY" there will be no trial before either a judge or a

jury, and that I will not be able to appeal from the judge's denial of any pretrial motions I may

have filed concerning matters or issues not related to the court's jurisdiction.

       9.       In this case I am pleading "GUILTY" under Rule ll(c)(l)(B). My attorney has

explained the effect of my plea under Rule 1l(c)(l)(B) to be as follows:

       My plea of guilty is under Rule 1 l(c)(l)(B); therefore, although the judge will
       consider the recommendations and agreements of both the prosecution and defense
       attorneys concerning sentencing, the judge is not obligated to follow those
       recommendations or agreements. If the judge imposes a sentence different from

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       what I expected to receive under the terms of my Plea Agreement with the
       prosecutor, I do not have a right to withdraw my plea.

       10.     I know the maximum sentence which can be imposed upon me for the crime(s) to

which I am pleading guilty is 20 years' imprisonment and a fine of $1,000,000. I also know there

is no mandatory minimum sentence. I know that there is a three (3) year term of supervised release.

       11.     I know that the judge, in addition to any other penalty, will order a special

assessment as provided by law in the amount of$100 per count of conviction.

       12.     I know that if I am ordered to pay a fine, and I willfully refuse to pay that fine, I

can be returned to court, where the amount of the unpaid balance owed on the fine can be

substantially increased by the judge and I can be imprisoned for up to one year.

       13.     My attorney has discussed with me sentencing under federal law. I know that the

judge will consider sentencing factors under 18 U .S.C. § 3553(a) in determining a proper sentence,

including; the nature and circumstances of the offense and my history and characteristics; the need

for the sentence to reflect the seriousness of the offense, promote respect for the law, provide just

punishment, afford adequate deterrence to criminal conduct, protect the public from further crime

by me, and provide me with needed educational or vocational training, medical care, or other

correctional treatment in the most effective mauner; the kinds of sentences available; the advisory

United States Sentencing Guidelines and policy statements; the need to avoid unwarranted

sentencing disparities among defendants; and, the need to provide restitution to any victims. I

know that the judge may not impose a sentence greater than the maximum sentence referred to in

paragraph (10) above.

        14.    I know from discussion with my attorney that if I am sentenced to prison I am not

entitled to parole. I will have to serve the full sentence imposed except for any credit for good


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behavior that I earn. I can earn credit for good behavior in prison at a rate of up to 54 days for

each year of imprisonment served. Credit for good behavior does not apply to a sentence of one

year or less.

        15.     I know that if I am sentenced to prison, the judge will impose a term of supervised

release to follow the prison sentence. During my supervised release term I will be supervised by

a probation officer according to terms and conditions set by the judge. In my case, a term of

supervised release can be up to three (3) years. IfI violate the conditions of supervised release, I

may be sent to prison for up to two (2) years.

        16.     I know that in addition to or in lieu of any other penalty, the judge can order

restitution payments to any victim of any offense to which I plead guilty. I am also informed that,

for certain crimes of violence and crimes involving fraud or deceit, it is mandatory that the judge

impose restitution iri the full amount of any financial loss or harm caused by an offense. If

imposed, the victim can use the order of restitution to obtain a civil judgment lien. A restitution

order can be enforced by the United States for up to twenty (20) years from the date of my release

from imprisonment, or, if I am not imprisoned, twenty (20) years from the date of the entry of

judgment. If I willfully refuse to pay restitution as ordered, a judge may resentence me to any

sentence which could originally have been imposed.

        17.     On any fine or restitution in an amount of $2,500 or more, I know that I will be

required to pay interest unless that fine or restitution is paid within fifteen (15) days from the date

of the entry of judgment.

        18.     IfI am on probation, parole, or supervised release in any other state or federal case,

I know that by pleading guilty in this court my probation, parole or supervised release may be



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revoked and I may be required to serve time in that case, which may be consecutive, that is, in

addition to any sentence imposed on me in this court.

       19.     If I have another case pending in any state or federal court, I know that my Petition

and Plea Agreement in this case do not, in the absence of an express and written agreement, apply

to my other case(s ), and that I can be faced with consecutive sentences of imprisonment.

       20.     My plea of "GUILTY" is based on a Plea Agreement that I have made with the

prosecutor.

       21.     The Plea Agreement contains the only agreement between the United States

government and me. No officer or agent of any branch of government (federal, state or local) or

anyone else has promised or suggested that I will receive a lesser term of imprisonment, or

probation, or any other fo1m of leniency if I plead "GUILTY" except as stated in the Plea

Agreement. I understand that I cannot rely on any promise or suggestion made to me by a

government agent or officer which is not stated in writing in the Plea Agreement, or which is not

presented to the judge in my presence in open court at the time of the entry of my plea of guilty.

       22.     My plea of "GUILTY" is not the result of force, threat, or intimidation.

       23.     I request that the judge accept my plea of "GUILTY" to the following count(s):

Counts.

       24.     I know that the judge must be satisfied that a crime occurred and that I committed

that crime before my plea of"GUILTY" can be accepted. With respect to the charge(s) to which

I am pleading guilty, I represent that I did the following acts and that the following facts are true:

       On or about December 1, 2016, in the District of Oregon, I knowingly and
       intentionally possessed with the intent to distribute a mixture or substance
       containing a detectable quantity of fentanyl, a Schedule II controlled substance.



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        25.     I offer my plea of "GUILTY" freely and voluntarily and of my own accord and

with a full understanding of the allegations set forth in the Indictment or Information, and with a

full understanding of the statements set forth in this Petition and in the Certificate of my attorney

that is attached to this Petition.

        SIGNED by me in the presence of my attorney, after reading (or having had read to me)

all of the pages and paragraphs of this Petition on this 24th day of January, 2018.




                                              J:lfM Dale Gillespie
                                             ;J1efendant




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                                 CERTIFICATE OF COUNSEL

        The undersigned, as attorney for defendant Jared Dale Gillespie, hereby certifies:

        1.       I have fully explained to the defendant the allegations contained in the Indictment

or Information in this case, any lesser-included offense(s), and the possible defenses which may

apply in this case.

        2.       I have personally examined the attached Petition to Enter Plea of Guilty And Order

Entering Plea, explained all its provisions to the defendant, and discussed fully with the defendant

all matters described and referred to in the Petition.

        3.       I have explained to the defendant the maximum penalty and other consequences of

entering a plea of guilty described in paragraphs (6)-(20) of the Petition, and I have also explained

to the defendant the applicable law regarding federal sentencing.

        4.       I recommend that the Court accept the defendant's plea of"GUILTY."

        SIGNED by me in the presence of the above-named defendant, and after full discussion

with the defendant of the contents of the Petition to Enter Plea of Guilty, and any Plea Agreement,

on this 24th day of January, 2018.




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                                  ORDER ENTERING PLEA

       I find that the defendant's plea of GUILTY has been made freely and voluntarily and not

out of ignorance, fear, inadvertence, or coercion. I further find the defendant has admitted facts

that prove each of the necessary elements of the crime(s) to which the defendant has pled guilty.

       IT IS THEREFORE ORDERED that the defendant's plea of GUILTY be accepted and

entered as requested in this Petition and as recommended in the Certificate of defendant's attorney.

       DATED this    .;l~~18, in open court.

                                              TheH~
                                              Senior United States District Court Judge




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